        Case: 22-10983    Document: 47    Page: 1    Date Filed: 03/13/2023




                      United States Court of Appeals
                                  FIFTH CIRCUIT
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                               March 13, 2023


      No. 22-10983       Dugaboy Invst v. Highland Capital
                         USDC No. 3:21-CV-1295


Dear Counsel,
You must submit the 7 paper copies of your brief required by 5th
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